  Case 4:21-cv-00492-O Document 71 Filed 06/02/21               Page 1 of 1 PageID 8580



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 THE NAUGHTYS LLC                               §
                                                §
          Plaintiff,                            §
                                                §
                                                §
 v.                                             §   Civil Action No. 4:21-cv-00492-O
                                                §
 DOES 1-580                                     §
                                                §
          Defendants.                           §

                                            ORDER

         Due to a jury trial on the Court’s docket, the Court sets this matter for a hearing on

Monday, June 7, 2021, at 8:00am in the Eldon B. Mahon Courthouse, 501 W. 10th Street, 5th

floor courtroom, Fort Worth, Texas.

         Counsel for both parties are ORDERED to attend. Counsel for Plaintiff is ORDERED to

provide notice to all the Defendants in this case, even those who have not yet appeared, so that

each of the 580 defendants may have an opportunity to present objections. Counsel is further

advised to be prepared to answer questions and discuss all issues currently pending before the

Court.

         SO ORDERED on this 2nd day of June, 2021.


                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE




                                               1
